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To Whom It May Concern:


My name is William Stoots Jr., and I am a friend of Mark Holdren. His daughter and I were in a
relationship for three years. As Haley and I are no longer in a relationship, her father and I are
still in contact. For a long time I thought that Mark would be my father in law, but as those
things changed, I can still say confidently that he was one of the best role models that I have
ever had. I know that Mark has made a grave mistake that cannot be taken lightly and he
knows that as well, but he is trying to better himself in ways that show his true character. I
know on my own personal accord that he has read the Bible cover to cover and has grown
closer with God. I know this because he has helped me also grow closer to God as his time
being incarcerated has passed. His testimony has inspired me to grow closer with God
alongside him and his journey. Mark is a wonderful man and a wonderful father. I have
watched the way that he plays with his kids and the way that he loves them. I have watched
the way that he can make the saddest person laugh, and the way that he can make any dull
moment into a funny story that will be told for years to come. He has an amazing character and
can become friends with anyone, just through a short conversation. I will always remember the
laughs that he and I shared while being with his daughter and playing video games with his
son. While I was in a relationship with Haley, I would spend weekends with her at Mark’s
house that he shared with his mother, “G-Maw,” as we all call her. Mark and his son Konnor
would make trips to the gas station for energy drinks and lottery scratch off tickets. Mark
always said he would just grab one or two for himself and come back with a handful so that
everyone could pick the ones that they wanted. We always had the most fun anticipating who
would win and who wouldn’t. Although I’ve only known Mark for a short time, I can say that he
is a great man. A man, who to this day, still calls me “son” regardless of the status of his
daughter and I. Meeting him was a blessing to me, and everyday I pray for his future as a man
who is trying to fix the mistakes that he made. I love Mark, as a friend, a father figure, and as a
man. He is hardworking, would do anything for his family and for anyone else that needed it. I
hope you take this into consideration when sentencing Mark.


Thank you for your time and consideration,
William Stoots Jr.
